Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 1 of 11

Daniel Loras Glynn, ISB No. 5113

Jones 0 Gledhill § Fuhrman 0 Gourley P.A.
225 N. 9th sueec, suite 820

P.O. Box 1097

Boise, ID 83701

Telephone (208)331-1170

Facsimile (208)331-1529

Email: dglmg@idalaw.com
Attorney for the Plaintiff

UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO
EAST BOISE COUNTY AMBULANCE
DISTRICT, a political subdivision of the State of Case No.
ldaho,
VERIFIED PETITION FOR

Plaintiff`s, DECLARATORY RELIEF
vs.
GAITLIN GEHRLS

Defendant.

 

 

Plaintiff East Boise County Ambulance District (hereinafter referred to as “EBCAD”), by
and through its attorneys-of record, Jones eGledhill eFulmnan eGourley, P.A., for its Petition
for Declaratory Judgment as against the Defendant Gaitlin Gehrls complains and alleges as
follows:

PARTIES

1. Plaintiff, EBCAD, is a taxing district, political subdivision of state of Idaho as
pursuant to Chapter 39, Title 31 of the Idaho Code.

2. Defendant Gaitlin Gehrls was, and is, at all relevant times employed by Boise

County as a Logistics Officer for EBCAD, Defendant was, and is, responsible for the

VERIFIED PETITION FOR DECLARATORY RELIEF - 1

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 2 of 11

performance of various job functions necessary for the EBCAD including, but not limited to,
inventory control, inventory counting, vehicle maintenance/repairs and facility upkeep/repairs
VENUE M§D JURISDICTION

3. This Court has subject matter jurisdiction over the matter pursuant to 28 U.S.C. §
1331 as EBCAD by this action, seeks a Declaratory Judgment pursuant to 28 U.S.C. § 2201 that
its proposed resolution of claims with the Defendant under the Fair Labor Standards Act of 1938
(hereinafter referred to as “FLSA”), as amended, 29 U.S.C. § 201 et seq. is fair and reasonable

4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

GENERAL ALLEGATIONS

5. Defendant is, and was, at all relevant times an employee for EBCAD, which is a
taxing district as contemplated by Chapter 39, Title 31 of Idaho Code, and which provides
emergency medical services. The EBCAD is governed by the EBCAD governing board which is
comprised of the members of the board of county commissioners for Boise County.

6. From approximately October 2011, Defendant was a volunteer emergency
responder for the EBCAD wherein he would be “on call” and, in the event of an emergency
response situation, respond. On or about January 13, 2016, Defendant was offered a paid, full~
time position as logistics Officer with the EBCAD, in the course of which he would respond to
calls during normal business hours just as he did while “on call,” and yet Defendant also
continued to volunteer for EBCAD for similar “on-call” duties outside normal business hours.

7. While working on personnel issues for EBCAD, Boise County discovered that
some of Defendant’s job duties as a paid employee were very similar to those he performed as a
volunteer, and yet he was not compensated for these services performed outside normal business
hours.

VERIFIED PETITION FOR DECLARATORY RELIEF - 2

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 3 of 11

8. Upon this discovery, Boise County conducted a further audit of these activities by
Defendant and made a good faith determination as to the uncompensated time as to the
Defendant.

9. Based upon the foregoing, Boise County has identified the amount of unpaid
wages and an additional equal amount as liquidated damages owed to each consistent with the
provisions of 29 U.S.C. § 216(b).

10. Pursuant to 29 U.S.C. § 216(0), resolution, settlement, or compromise of back
wages and liquidated damages are only enforceable as between an employer and employee if
supervised by the Department of Labor or by means of a judgment by a court of competent
jurisdiction which has determined that resolution, settlement or compromise is a fair and
reasonable resolution of the matter.

ll. On or about February 28, 2018, EBCAD advised Defendant in writing of the
discovery of services performed by Defendant for which Defendant was not compensated by
EBCAD, of EBCAD’s calculation of those uncompensated hours, and the amount EBCAD
determined should be paid to him, to include an amount of liquidated damages as calculated in
accordance with 29 U.S.C. § 216. EBCAD requested that Defendant review these hours and
calculations and advise EBCAD of any errors in the calculation of hours, or amounts owed, by
March 16, 2018. A true and correct copy of this correspondence is attached as Exhibit “A” hereto.

12. Defendant has not advised EBCAD of any errors in the calculation of hours or
amounts owed,

COUNT ONE
REQUEST FOR DECLARATORY RELIEF

13. EBCAD realleges, and hereby incorporates by reference, all the foregoing

VERIFlED PETITION FOR DECLARATOR¥ RELIEF - 3

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 4 of 11

allegations as if fully stated herein.

14. There now exists an actual, justiciable controversy between EBCAD and the
Defendant with regard to EBCAD’s payment of acknowledged unpaid wages and liquidated
damages due to Defendant.

15. EBCAD seeks a judicial Declaration, pursuant to 28 U.S.C. § 2201 that,
consistent with 29 U.S.C. § 216(0), the proposed payments by EBCAD to the Defendant as
identified in Exhibit “A” is a fair and reasonable resolution of the unpaid wages and liquidated
amounts for the activities described herein.

WHEREFORE, EBCAD requests this Court enter a Judgment finding that the payment of
the amounts as identified in Exhibit “A” to the Defendant is a fair and reasonable resolution of

the unpaid wages and liquidated damages owed by EBCAD to the Defendant.

.l
DATED This °_{'y` day ofi&§eh, 2013.

JONES § GLEDHILL+ FUHRMAN 4 GOURLEY, P.A.

DANIEL LoRAs GIYNN>
Attorney for Plaintiff

VERlFIED PETITION FOR DECLARATORY RELIEF - 4

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 5 of 11

!EB]EI.QBIIQH
sure or ,» ggh g
88.

' County of `
¢L being tim duly swom. deposes end seys:

raa____ she is me wm ceases coun:y, me rumsehmin; am
_ ____he has read the foregoing instrummt, knows the contents diereofto be true and correct to
the best other knowledge

\-Ivv

201 8.

 

VERIFIED PE'I'mCN FQR‘DBMTORY RELIEF - 5

Case 1:18-cv-00151-CWD Document 1 Filed 04/04/18 Page 6 of 11

Exhibit A

BO|SE COUNTY
PROSECUT|NG ATTORNEY'S OFF|CE

 

February 28, 2018

Gaitlin Gehrls
P.O. Box 19
ldaho Clty, lD 83631

Dear Mr. Gehr|s:

l’m the Boise County Prosecutor, and l’m writing to you on behalf of the Governing Board of the

East Boise County Ambulance District ("EBCAD") regarding your compensation for past service
to EBCAD,

Severa| months ago, the County discovered that you were volunteering for work that you were
also paid to do. Specit"ical|y, you responded to emergency calls during your paid job for EBCAD,
but you also responded to emergency calls as a volunteer outside of your paid job. Upon
discovering this, the County asked you to stop responding to calls as a volunteer in Apr|| 2017.

Upon review of the records contained in the attached Exhibit A, the County has determined
that since the beginning of your paid job with EBCAD on january 13, 2016, you have worked
approximately 242.75 hours as a ”volunteer" for which you were entitled to compensation at
an overtime rate. Your hourly wage for the entire period in question has been $12.50, and thus
your overtime rate would be $18.75. As such the back wages owed to you total the amount of
$4,551.57.

As a result, the County intends to pay you the amount of $4,551.57 for owed back wages, less
the applicable deductions and withholdings. ln addition, in accordance with the provisions of
the Fair Labor Standards Act, the County intends to pay you an additional amount equal to
those back wages, or in other words, an additional amount of $4,551.57. As such, the total
payment to you, less the deductions and wlthholdings, should be approximately $9,103.14.
Based on this, the County believes it would be paying you all compensation owed for this
uncompensated time. ln making this calculation, the County believes it has not diminished or
compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federa| District Court in Boise to approve this
payment. The County has hired outside counsel, Daniel G|ynn of the firm Jones, Gledhill,
Fuhrman, and Gourley P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. G|ynn's firm listing you as a defendant in a civil case

406 Montgomery Street, P.O. Box 186, ldaho C|ty, lD 83631
Ph: 208-392-4485 | Fax: 208-392-3760

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 8 of 11

in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

The Board appreciates your service to the residents of Boise County. if you have any questions,
or if upon your review of Exhibit A you believe that the dollar amount provided to you

incorrect, please noti§¢ me by SQm on March 16l 2018.

Best,

D're%,_

Dan Blocksom

 

Case 1:18-cV-00151-CWD Document 1 Filed 04/04/18 Page 9 of 11

First Name

Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin

GEHRLS EXHIB|T A

Last Name incident Date Tota| Hours

Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls

1!16)'18
1116!'16
1125!16
2!2!16
219!16
2!15!16
2126:'16
2128-116
21281'16
316.'16
319)'16
3.-"16.'16
2!21!'16
413!16
4!3.'16
4!4!16
419.'16
41'16!16
41211'16
41241'16
5!8!16
5!8,'16
5115!16
5}6!16
5119!16
51191'16
4130:*16
6!11'16
611!16
615/16
6!?)'16
6)'7!16
619!16
6!12.'16
6!12!16
6!171'16
6118."16
6¢"181'16
6!19)'16
611 9116
6!'11:*16
61201'16
6111!16
6!25!16

Soent on Call
1.25

4
4
2.25
1
0.5

1

3

4
0.75
0.5

1

3
1.5
2.25
2.75
2.75
3.?5

2.75

1013

Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin

Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaithn
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin

Case 1:18-cv-00151-CWD Document 1 Filed 04/04/18 Page 10 of 11

Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls

6/25/16
6/26/16
6/30/16
7/1/16
7/1/16
7/2/16
7/2/16
7/3/16
719/16
7/10/16
7/21/16
7/24/16
7/24/16
7/25/16
7/26/16
7/26/16
8/8/16
7/24/16
8/20/16
8/21/16
8/24/16
8/24/16
8/20/16
9/7/16
9/9/16
9/8/16
8/7/16
9/‘| 6/1 6
10/2/16
10/14/16
10/8/16
10/24/16
10/24/16
1 1/4/16
1 1/10/16
1 1/19/16
12/2/16
12/3/16
12/6/‘| 6
12/7/16
12/12/16
12/14/16
12/17/16
1/10/17
1/10/17
1/16/17

0.75
1.25

0.5
0.5
2.5
3.5

3.75
1.5
5.25

2.25

0.25

3.25
0.5

0.5
1.25
2.75

0.5
3.25
1.25
1.25

1.5
0.75

1.5

1.5

0.75
1.25
1.25

4.5
1.5
0.75
1.25
2.25
1.25

20f3

Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitln
Gaithn
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaitlin
Gaithn
Gaitlin
Gaitlin

Case 1:18-cv-00151-CWD Document 1 Filed 04/04/18 Page 11 of 11

Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls
Gehrls

1/18/17
1/21/17
1/23/17
1/27/17
1/28/17
1/30/17
1/29/17
1/30/17
2l1/17
2I4l17
2l1/17
2/9/17
2/9/17
2/11/17
2/13l17
2l13/17
2I19l17
2/26/17
3/2/17
3/5/17
3/7/17
3/7/17
3/7/17
3/9/17
3/4/17
3/15/17
3/22/17
3/23/17
3/25/17
3/26/17
3/25/17
3/30/17
3/26/17
4/2/17

2.25
2.5
1.5

2.25

4.25

2.25

2.25
0.25

1.5
2.75
1.5
0.75

3.25
0.5
1.25

0.5
2.5

1.75
2 5

2.75
1 .25

 

| 'rorAt HouRs

242.75|

3013

